Electronically FILED by Superior Court of California, County of Los Angeles on 09/27/2022 05:35 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                    Case 2:22-cv-08468-DSF-SK                               Document  1-2 Filed 11/18/22
                                                                                 22STCV31648                                           Page 1 of 22 Page ID
                                                                                      #:28 Judicial Officer: Kristin Escalante
                                         Assigned for all purposes to: Stanley Mosk Courthouse,




                    1       Peter A. Javanmardi (State Bar No. 258449)
                            peter@javanmardilaw.com
                    2       Marc A. Holmquist (State Bar No. 258406)
                            marc@holmquistlaw.com
                    3       Miranda A. Mossavar (State Bar No. 279251)
                            miranda@mossavarlaw.com
                    4       JAVANMARDI LAW, PC | HOLMQUIST LAW, PC
                    5       1875 Century Park East, Suite 1025
                            Los Angeles, CA 90067
                    6       Telephone: (424) 286-4240
                            Facsimile: (310) 564-0347
                    7
                            Attorneys for Plaintiff
                    8       JIM NICHOLAS JAMES

                    9
                                                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  10
                                          FOR THE COUNTY OF LOS ANGELES – CENTRAL DISTRICT
                  11

                  12        JIM NICHOLAS JAMES,                                                            Case Number:

                  13                               Plaintiff,                                              [Unlimited Jurisdiction]

                  14                    v.                                                                 COMPLAINT FOR DAMAGES:

                  15        TWENTIETH CENTURY FOX FILM            1. FEHA Employment Discrimination
                            CORPORATION; THE WALT DISNEY             (Gov. Code §12940(a));
                  16        COMPANY; ABC SIGNATURE                2. Harassment in Violation of FEHA
                            STUDIOS, INC.; and DOES 1 through 10,    (Gov. Code §12940(j))
                  17        Inclusive,                            3. FEHA Retaliation (Gov. Code
                                                                     §12940(h));
                  18                   Defendants.                4. FEHA Failure to Prevent/Remedy
                                                                     Discrimination or Retaliation (Gov.
                  19                                                 Code §12940(k));
                                                                  5. Wrongful Termination in Violation of
                  20                                                 Public Policy;
                                                                  6. Retaliation (Lab. Code § 1102.5)
                  21                                              7. Defamation; and
                                                                  8. Intentional Infliction of Emotional
                  22                                                 Distress.

                  23                                                                                        [JURY TRIAL DEMANDED]

                  24
                            ///
                  25
                            ///
                  26
                            ///
                  27
                            ///
                  28
                                                                               1
                                                   PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
 Case 2:22-cv-08468-DSF-SK       Document 1-2     Filed 11/18/22   Page 2 of 22 Page ID
                                         #:29



1          Plaintiff JIM NICHOLAS JAMES, demanding a jury trial, brings this action
2    against Defendants TWENTIETH CENTURY FOX FILM CORPORATION; THE
3    WALT DISNEY COMPANY; ABC SIGNATURE STUDIOS, INC.; and DOES 1
4    through 10, for general, compensatory, punitive, and statutory damages, and costs and
5    attorneys’ fees resulting from Defendants’ unlawful conduct, and as grounds therefore
6    alleges as follows:
7

8                                  GENERAL ALLEGATIONS
9          1.      Plaintiff JIM NICHOLAS JAMES (hereafter “PLAINTIFF”) was at all
10   relevant times in this matter an adult male working for TWENTIETH CENTURY FOX
11   FILM CORPORATION; WALT DISNEY COMPANY, LLC; ABC SIGNATURE
12   STUDIOS, INC; (collectively, “DEFENDANT EMPLOYERS” or “Defendants”) on
13   various television and movie sets located in Los Angeles County in the State of
14   California.
15         2.      Plaintiff is informed and believes, and based thereon allege, that at all times
16   relevant in this Complaint, Defendant TWENTIETH CENTURY FOX FILM
17   CORPORATION (hereafter “FOX”) is and was a corporation authorized to operate in
18   the State of California with its headquarters and principal place of business located at
19   10201 W. Pico Blvd., Los Angeles, California 90035. FOX was Plaintiff’s employer
20   during the relevant time period.
21         3.      Plaintiff is informed and believes, and based thereon allege, that at all times
22   relevant in this Complaint, Defendant THE WALT DISNEY COMPANY (hereafter
23   “DISNEY”) is and was a corporation authorized to operate in the State of California with
24   its headquarters and principal place of business located at 500 S. Buena Vista Street,
25   Burbank, California, 91521. DISNEY was Plaintiff’s employer during the relevant time
26   period.
27   ///
28   ///
                                               2
                   PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
 Case 2:22-cv-08468-DSF-SK        Document 1-2    Filed 11/18/22   Page 3 of 22 Page ID
                                          #:30



1           4.     Plaintiff is informed and believes, and based thereon allege, that at all times
2    relevant in this Complaint, Defendant ABC SIGNATURE STUDIOS, INC., (hereafter
3    “ABC”) is and was a corporation authorized to operate in the State of California with its
4    headquarters and principal place of business located at 500 S. Buena Vista Street, Mail
5    Code 4242, Burbank, California 91521. ABC was Plaintiff’s employer during the
6    relevant time period.
7           5.     Plaintiff is ignorant of the true names and capacities of Defendants sued as
8    DOES 1 through 10, inclusive, and therefore sues these Defendants by such fictitious
9    names. Plaintiff will amend this Complaint to allege their true names and capacities when
10   ascertained. Plaintiff is informed and believes and based thereon alleges that each of these
11   fictitiously named Defendants is responsible in some manner for the occurrences herein
12   alleged, and that Plaintiff’s injuries as herein alleged were proximately caused by these
13   Defendants.
14          6.     Plaintiff is informed and believes and based thereon alleges that, at all
15   relevant times, each of the Defendants, whether named or fictitious, was the agent,
16   employee or alter ego of each of the other Defendants, and in doing the things alleged to
17   have been done in the Complaint, acted within the scope of such agency or employment,
18   or ratified the acts of the other.
19          7.     Whenever and wherever reference is made in this Complaint to any act or
20   failure to act by a defendant or co-defendant, such allegations and references shall also
21   be deemed to mean the acts and/or failures to act by each defendant acting individually,
22   jointly and severally.
23          8.     On information and belief, DEFENDANT EMPLOYERS employed at least
24   five (5) employees at all relevant times and is therefore subject to the California Fair
25   Employment and Housing Act, California Government Code section 12900, et seq.
26   (hereafter “FEHA”).
27   ///
28   ///
                                               3
                   PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
 Case 2:22-cv-08468-DSF-SK      Document 1-2     Filed 11/18/22    Page 4 of 22 Page ID
                                        #:31



1          9.     Plaintiff is informed and believes and based thereon alleges that, at all times
2    material herein, each Defendant, and/or their respective agents, employees or supervisors,
3    authorized, condoned and/or ratified the unlawful conduct of each other.
4          10.    In addition, each Defendant compelled, coerced, aided, and abetted the
5    discrimination, which is prohibited under California Government Code section 12940(i).
6          11.    Plaintiff is informed and believes and based thereon alleges that, at all times
7    material herein, DEFENDANT EMPLOYERS and/or their agents, employees, or
8    supervisors knew or reasonably should have known that unless they intervened to protect
9    Plaintiff, and to adequately supervise, prohibit, control, regulate, discipline, and/or
10   otherwise penalize the conduct of the employees of Defendants, employees perceived the
11   conduct and omissions as being ratified and condoned.
12

13                                FACTUAL ALLEGATIONS
14         12.    Starting in or around November 2018, Plaintiff worked for DEFENDANT
15   EMPLOYERS, as a freelance lighting technician for film, TV, and entertainment in
16   Hollywood, California. As a freelancer in the entertainment industry, Plaintiff’s status for
17   work authorization from 2018 to present is that of an O-1 Visa.
18         13.    Plaintiff worked for DEFENDANT EMPLOYERS in Los Angeles County
19   and surrounding areas from approximately November 2018 until February 6, 2021, on
20   multiple productions without issue.
21         14.    Starting on or about February 6, 2021, and through February 7, 2021,
22   Plaintiff worked on an ABC production entitled, Rebel. On February 8, 2021, Plaintiff
23   received his hiring documents, including a I-9 verification. Plaintiff completed and
24   submitted this paperwork timely on February 9, 2021. The following day, DEFENDANT
25   EMPLOYERS requested copies of Plaintiff’s passport, social security card, and
26   California Driver’s license for I-9 verification. That same afternoon, Plaintiff received a
27   telephone call from ABC’s assistant production coordinator, Talia Fliegelman, who
28   stated that she had spoken with both ABC and Disney and was informed that neither were
                                              4
                  PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
 Case 2:22-cv-08468-DSF-SK      Document 1-2     Filed 11/18/22   Page 5 of 22 Page ID
                                        #:32



1    allowed to employ Plaintiff. Plaintiff, surprised given that he had been employed by both
2    entities in the same capacity since 2019, called Fliegelman to inquire what the issue was.
3    Fliegelman stated that Plaintiff needed an I-94 and I-79 (Plaintiff corrected her,
4    explaining that she actually meant an I-797B). Plaintiff emailed her the requested
5    documents and waited to hear back.
6          15.    Eventually, ABC responded by telling Plaintiff that they would not timely
7    pay him because his O-1 petition was “not Disney approved.” The following day, Ms.
8    Fliegelman sent an email to all heads of department for Rebel on t the Disney and ABC
9    team reflecting, that the companies “can absolutely NOT hire any crew working under
10   an 0-1 Visa.”
11         16.    Plaintiff was shocked, felt discriminated against, and proceeded to involve
12   his union (IATSE Local 728 ‘Local 728’) for assistance. After a significant amount of
13   unnecessary back and forth over the course of a three-week period, DEFENDANT
14   EMPLOYERS eventually paid Plaintiff for work on Rebel and allowed him to continue
15   working on his full-time production of This Is Us: Season 5 (which is made by Fox and
16   owned by Disney) however they threatened him with job loss on a daily basis. Further,
17   rather than apologize for putting Plaintiff through the unnerving experience of being
18   threatened with job loss day in and day out for three weeks, DEFENDANT
19   EMPLOYERS fabricated a narrative that Fox had been attempting to obtain a copy of
20   Plaintiff’s immigration paperwork since October 2020 using a Defendant-created untitled
21   internal checklist, that is not legally accurate or appropriate to determine employment
22   eligibility in-house. Further, even after he returned to work, Plaintiff was informed by
23   representatives of DEFENDANT EMPLOYERS that he had been “flagged” and needed
24   to again present his O-1 petition.
25         17.    Thereafter, on or about March 10, 2021, DEFENDANT EMPLOYERS
26   wrongfully terminated Plaintiff’s employment by erroneously stating that his O-1 petition
27   only entitled him to work as a gaffer (head of lighting), not as a set lighting technician.
28
                                              5
                  PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
 Case 2:22-cv-08468-DSF-SK       Document 1-2   Filed 11/18/22   Page 6 of 22 Page ID
                                         #:33



1    This is factually incorrect as both job classifications fall under Local 728 and members
2    can work from job to job.
3          18.    On or about March 11, 2021, Plaintiff filed a formal Step Two Union
4    grievance, and a union meeting was scheduled for June 3, 2021. Unfortunately, this
5    meeting continued to be rescheduled while DEFENDANT EMPLOYERS left Plaintiff
6    without employment. Further, DEFENDANT EMPLOYERS took the erroneous position
7    that Plaintiff’s first visa petition (valid from 2018 through May 2021) did not permit him
8    to work while simultaneously stating that the renewal of that same visa (from May 2021
9    to May 2024) was fine. DEFENDANT EMPLOYERS reneged on this position in
10   January of 2022 stating that Plaintiff was once again unable to work for Plaintiff, even
11   though they assisted with providing documentation that he required as supporting
12   evidence of his future employability.
13         19.    After months of back-and-forth, and at the direction of Plaintiff’s
14   immigration attorney, DEFENDANT EMPLOYERS agreed to a Zoom meeting in
15   February 2022 to discuss Plaintiff’s employment eligibility – though DEFENDANT
16   EMPLOYERS specifically requested – one hour before the meeting- that Plaintiff not
17   attend the meeting. During this Zoom meeting, DEFENDANT EMPLOYERS admitted
18   that they had made a “mistake” and had “mis-read” a portion of Plaintiff’s visa. However,
19   rather than offering to provide him with backpay, reimbursement for his immigration
20   attorneys’ fees, and/or other damages for the near year he had been out of work,
21   DEFENDANT EMPLOYERS merely offered him the opportunity to return to “This is
22   Us” – a show ending production in May 2022. However, no one from DEFENDANT
23   EMPLOYERS ever actually contacted Plaintiff or his immigration counsel, nor his union,
24   Local 728, following this meeting to discuss the option to return to “This is Us.”
25         20.    To date, DEFENDANT EMPLOYERS have not offered to compensate
26   Plaintiff for the time and money lost or the emotional distress he has suffered over the
27   last year.   Even worse, Plaintiff is informed and believes that DEFENDANT
28   EMPLOYERS have continued to “red-flag” his name in their internal employee database
                                              6
                  PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
 Case 2:22-cv-08468-DSF-SK       Document 1-2     Filed 11/18/22   Page 7 of 22 Page ID
                                         #:34



1    which discredits Plaintiff and prevents him from obtaining work with any of the multiple
2    companies DEFENDANT EMPLOYERS own. DEFENDANT EMPLOYERS’ illegal
3    actions have not only caused emotional distress and monetary loss but have also
4    discredited Plaintiff’s name and reputation in this very small industry.
5          21.    Plaintiff inquired with FOX, ABC, HULU, and DISNEY about other job
6    opportunities for which he was qualified and could be considered. (The actual occurrence
7    of events is that Plaintiff has worked a single day on productions for DEFENDANT
8    EMPLOYERS but was always denied days being initial day of employment because of
9    his work authorization) On information and belief, despite such jobs being available,
10   DEFENDANT EMPLOYERS did not permit Plaintiff to work after he submitted start
11   paperwork and instead continued to “red-flag” Plaintiff in their systems.
12         22.    Plaintiff is informed and believes and based thereon alleges that at minimum
13   DEFENDANT EMPLOYERS made defamatory statements about him with malice, to
14   others throughout the organization including but not limited to each other, others in
15   management, others in Human Resources, and others in the legal department, along with
16   his own colleagues who are his direct point of contact for offers of work. These included,
17   but were not necessarily limited to, statements and/or insinuations that Plaintiff was
18   illegally attempting to work in the United States. DEFENDANT EMPLOYERS did this
19   for the purpose of establishing a basis to terminate Plaintiff based on illegal reasons; i.e.
20   for pretexual reasons and out of malice. All of the statements and actions at issue were
21   false, malicious, discriminatory, retaliatory and/or pretextual. Plaintiff is also informed
22   and believes that DEFENDANT EMPLOYERS have published to third parties
23   defamatory statements about Plaintiff.
24         23.    On information and belief, DEFENDANT EMPLOYERS’ defamatory
25   statements about Plaintiff were published to various third parties at various times and
26   places unknown to Plaintiffs but known to DEFENDANT EMPLOYERS. (See Schessler
27   v. Keck (1954) 125 Cal.App.2d 827, 835 [matters peculiarly within the knowledge of the
28   defendants may properly be alleged upon information and belief].)
                                              7
                  PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
 Case 2:22-cv-08468-DSF-SK      Document 1-2     Filed 11/18/22   Page 8 of 22 Page ID
                                        #:35



1          24.    All such communications to third parties (i.e., parties who are not the
2    plaintiff) constitutes publication. (Kelly v. General Telephone Co. (1982) 136 Cal.App.3d
3    278, 284.) DEFENDANT EMPLOYERS did so maliciously, with no reasonable belief
4    that the statements were true, with reasons to doubt the veracity of the statements, or
5    knowing they were false. All of the foregoing defamatory statements were published
6    excessively; i.e., to more third parties than needed to know, which further evidences
7    malice. (Rancho La Costa, Inc. v. Sup. Ct. (1980) 106 Cal.App.3d 646, 665-6.)
8          25.    Plaintiff is informed and believes and based thereon alleges that
9    DEFENDANT EMPLOYERS did not conduct a good faith investigation into the
10   purported reasons for Plaintiff’s termination before terminating his employment, refusing
11   to re-hire him, and “red-flagging” Plaintiff in their systems. Plaintiff is informed and
12   believes and based thereon alleges that DEFENDANT EMPLOYERS failed to follow
13   their policies and procedures in carrying out the termination of Plaintiff’s employment.
14         26.    On or about September 26, 2022, Plaintiff exhausted his administrative
15   remedies by timely filing a Complaint of Discrimination with the DFEH regarding the
16   claims alleged herein against Defendants. Per Plaintiff’s request, an immediate right-to-
17   sue letter was issued on September 26, 2022.
18

19                                FIRST CAUSE OF ACTION
20        (Employment Discrimination Pursuant to Government Code § 12940(a),
21               Against DEFENDANT EMPLOYERS and Does 1 through 10)
22         27.    Plaintiff re-alleges and incorporates all previous and subsequent paragraphs
23   of this Complaint, as though fully set forth herein.
24         28.    California’s Anti-Discrimination laws extend to immigrants, including
25   undocumented immigrants. Cal. Code Regs. tit. 2 § 11028. On July 1, 2018, new
26   regulations from California’s Fair Employment and Housing Council (“FEHC”) clarified
27   that discrimination based on immigration status is prohibited under Fair Employment and
28   Housing Act (“FEHA”). Cal. Code Regs. tit. 2 § 11028. In particular, through the 2018
                                              8
                  PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
 Case 2:22-cv-08468-DSF-SK      Document 1-2     Filed 11/18/22    Page 9 of 22 Page ID
                                        #:36



1    regulations, the FEHC sought to make clear that immigration status discrimination is a
2    subset of discrimination based on national origin.
3          29.     Under Government Code section 12940(a), it is an unlawful employment
4    practice for an employer to refuse to hire or employ a person, or to discriminate against
5    a person in the terms, conditions, or privileges of employment on the basis of, among
6    other things, due to their national origin. The 2018 regulations explicitly state that under
7    FEHA        the    “national    origin”     protected     category     encompasses       an
8    employee’s immigration status. Cal. Code Regs. tit. 2 § 11028(f)(3). An employer who
9    discriminates against an employee or applicant due to immigration status, must
10   demonstrate by “clear and convincing evidence” that such discrimination is “required in
11   order to comply with federal immigration law.” Id. Additionally, citizenship requirements
12   that are a pretext for discrimination or serve the purpose of discriminating against
13   employees or applicants on the basis of national origin or ancestry are unlawful. Cal. Code
14   Regs. tit. 2 § 11028(h).
15         30.     At all times mentioned in this Complaint, DEFENDANT EMPLOYERS
16   regularly employed five or more persons, bringing them within the provisions of FEHA,
17   which prohibits employers or their agents from, among other things, discriminating
18   against employees based on the employee’s national origin.
19         31.     Plaintiff was subjected to discrimination in the workplace. Plaintiff is
20   informed and believes that said discrimination was based on his national origin and
21   immigration status. Plaintiff is informed and believes and based thereon alleges that
22   DEFENDANT EMPLOYERS did not want to employ individuals from other countries
23   and/or those with O-1 Agency visas.
24         32.     As a direct, foreseeable, and proximate result of DEFENDANT
25   EMPLOYERS’ discriminatory acts, Plaintiff has suffered and continues to suffer injuries,
26   substantial losses in earnings and job benefits, as well as humiliation, embarrassment,
27   mental and emotional distress, and discomfort, all to Plaintiff’s damage in an amount
28   over the minimum jurisdiction of this Court, the precise amount of which will be proven
                                               9
                   PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
Case 2:22-cv-08468-DSF-SK        Document 1-2 Filed 11/18/22         Page 10 of 22 Page ID
                                          #:37



1    at trial. Plaintiff claims such amount as damages together with pre-judgment interest
2    pursuant to Civil Code section 3287 and/or any other provision of law providing for pre-
3    judgment interest.
4          33.     As a further proximate result of DEFENDANT EMPLOYERS’ conduct
5    described in this Complaint, Plaintiff has incurred and will continue to incur medical
6    expenses in an amount according to proof at the time of trial.
7          34.     As a result of the aforesaid acts of DEFENDANT EMPLOYERS, Plaintiff
8    claims general damages for mental and emotional distress and aggravation in an amount
9    to be proven at the time of trial.
10         35.     In doing the acts herein alleged, DEFENDANT EMPLOYERS, through
11   their officers, directors, and/or managing agents, acted with oppression, fraud, malice,
12   and in the conscious disregard of the rights of Plaintiff; therefore, Plaintiff is also entitled
13   to punitive damages in an amount according to proof at the time of trial.
14         36.     Plaintiff, who has incurred and continue to incur attorneys’ fees and legal
15   expenses, is also entitled to recover said costs and fees in an amount according to proof
16   at the time of trial, pursuant to Government Code section 12965(b).
17

18                               SECOND CAUSE OF ACTION
19                 (Harassment, Pursuant to Government Code § 12940(j),
20               Against DEFENDANT EMPLOYERS, and Does 1 through 10)
21         37.     Plaintiff re-alleges and incorporates all previous and subsequent
22   paragraphs of this Complaint, as though fully set forth herein.
23         38.     Under Government Code section 12940(j), it is unlawful for an employer
24   or individual to harass an employee based on, among other things, the employee’s
25   national origin and/or immigration status.
26   ///
27   ///
28   ///
                                               10
                   PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
Case 2:22-cv-08468-DSF-SK       Document 1-2 Filed 11/18/22       Page 11 of 22 Page ID
                                         #:38



1          39.     DEFENDANT EMPLOYERS, and each of them, engaged in actions to
2    harass Plaintiff, an employee from another country, working with an O-1 Visa because
3    of his national origin/immigration status. Defendants, and each of them, violated
4    Government Code section 12940(j) by creating a hostile work environment and by
5    failing to prevent said acts from occurring. DEFENDANT EMPLOYERS terminated
6    Plaintiff’s employment after he complained of said acts and sought assistance from his
7    Union.
8          40.    Threats of deportation or derogatory comments about immigration status or
9    mockery of an accent or language may constitute harassment under FEHA. Cal. Code
10   Regs. tit. 2 § 11028(j). Even a single threat of deportation, derogatory comment or incident
11   of mockery may give rise to an unlawful hostile work environment under the act. Id.
12         41.    DEFENDANT EMPLOYERS’ managing agents consistently harassed
13   Plaintiff throughout his employment, including by repeatedly, publicly, questioning his
14   right legally work for DEFENDANT EMPLOYERS, failing to timely pay Plaintiff
15   claiming that his O-1 petition was not employer approved, and by making comments like
16   [we] “can absolutely NOT hire any crew working under an 0-1 Visa”; repeatedly
17   requesting documents to verify his immigration status (despite having employed him
18   without issue for years prior) and arbitrarily terminating his employment based on a false
19   narrative that he was ineligible to work.
20         42.    The conduct was carried out, authorized, and/or ratified by Plaintiff’s
21   managers and other officers, directors and/or managing agents of DEFENDANT
22   EMPLOYERS; therefore, DEFENDANT EMPLOYERS are strictly liable for the
23   conduct. Alternatively, the actions were known by DEFENDANT EMPLOYERS’
24   officers, directors and/or managing agents yet nothing was done to prevent it. In either
25   event, DEFENDANT EMPLOYERS are liable for the conduct because the harassers
26   were managers and/or because DEFENDANT EMPLOYERS knew or should have
27   known of the conduct and failed to prevent it and/or ratified and/or condoned it.
28   ///
                                              11
                  PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
Case 2:22-cv-08468-DSF-SK        Document 1-2 Filed 11/18/22       Page 12 of 22 Page ID
                                          #:39



1             43.   Plaintiff believes that his national origin and/or immigration status were
2    the cause of the unwanted harassing conduct described above. The actions were
3    sufficiently severe or pervasive to alter the conditions of employment and thereby
4    constituted a hostile work environment in violation of FEHA.
5             44.   As a direct, foreseeable, and proximate result of DEFENDANT
6    EMPLOYERS’ actions, Plaintiff has suffered and continues to suffer injuries,
7    aggravation, medical expenses, substantial losses in earnings and job benefits,
8    humiliation, embarrassment, mental and emotional distress, and discomfort, all to
9    Plaintiff’s damage in an amount over the minimum jurisdiction of this Court, the precise
10   amount of which will be proven at trial.
11            45.   In doing the acts herein alleged, DEFENDANT EMPLOYERS, through
12   their officers, directors, and/or managing agents, acted with oppression, fraud, malice,
13   and in the conscious disregard of the rights of Plaintiff; therefore, Plaintiff is also
14   entitled to punitive damages in an amount according to proof at the time of trial.
15            46.   Plaintiff, who has incurred and continues to incur attorneys’ fees and legal
16   expenses, is also entitled to recover said costs and fees in an amount according to proof
17   at the time of trial, pursuant to Government Code section 12965(b).
18

19                                 THIRD CAUSE OF ACTION
20         (Retaliation Pursuant to Government Code § 12940(h), Against DEFENDANT
21                             EMPLOYERS and Does 1 through 10
22            47.   Plaintiff re-alleges and incorporates all previous and subsequent
23   paragraphs of this Complaint, as though fully set forth herein.
24            48.   Under Government Code section 12940(h), it is an unlawful employment
25   practice for an employer to discriminate against any person because the person has
26   engaged in protected activities under FEHA.
27   ///
28   ///
                                                12
                    PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
Case 2:22-cv-08468-DSF-SK       Document 1-2 Filed 11/18/22        Page 13 of 22 Page ID
                                         #:40



1          49.    Plaintiff is informed and believes and thereon alleges that his engaging in
2    protected activities was a substantial, motivating, and determining factor in the decision
3    to terminate his employment as herein alleged, including his multiple complaints to
4    DEFENDANT EMPLOYERS about illegal treatment including but not limited to,
5    challenging DEFENDANT EMPLOYERS’ actions by involving the union. Plaintiff
6    also resisted his own termination, questioning DEFENDANTS’ reason for what
7    Plaintiff believed to be a wrongful termination based on illegal reasons. In response,
8    DEFENDANTS refused to consider Plaintiff for other positions within the company for
9    which he was qualified though such positions existed. In lieu of undoing the termination
10   or considering Plaintiff for another position, Plaintiff is informed and believes
11   DEFENDANT EMPLOYERS instead took steps to prevent Plaintiff from obtaining
12   future work with DEFENDANT EMPLOYERS by “flagging” Plaintiff’s profile as
13   ineligible for hire in DEFENDANT EMPLOYERS’ systems. The wrongful conduct of
14   DEFENDANT EMPLOYERS constitutes an unlawful, retaliatory employment practice
15   in violation of Government Code section 12940(h).
16         50.    As a proximate result of DEFENDANT EMPLOYERS’ actions, Plaintiff
17   has suffered and continues to suffer substantial losses in earnings and job benefits,
18   humiliation, embarrassment, mental and emotional distress, and discomfort, all to
19   Plaintiff’s damage in an amount over the minimum jurisdiction of this Court, the precise
20   amount of which will be proven at trial. Plaintiff claims such amount as damages
21   together with pre-judgment interest pursuant to Civil Code section 3287 and/or any
22   other provision of law providing for pre-judgment interest.
23         51.    In doing the acts herein alleged, DEFENDANT EMPLOYERS, through
24   their managing agents, acted with oppression, fraud, malice, and in the conscious
25   disregard of the rights of Plaintiff; therefore, Plaintiff is also entitled to punitive
26   damages in an amount according to proof at the time of trial.
27   ///
28   ///
                                              13
                  PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
Case 2:22-cv-08468-DSF-SK      Document 1-2 Filed 11/18/22         Page 14 of 22 Page ID
                                        #:41



1          52.    Plaintiff, who has incurred and continues to incur attorneys’ fees and legal
2    expenses, is also entitled to recover said costs and fees in an amount according to proof
3    at the time of trial, pursuant to Government Code section 12965(b).
4

5                              FOURTH CAUSE OF ACTION
6      (Failure to Prevent Discrimination, Retaliation, and Harassment, Pursuant to
7    Government Code § 12940(k), Against DEFENDANT EMPLOYERS and Does 1
8                                          through 10)
9          53.    Plaintiff re-alleges and incorporates all previous and subsequent
10   paragraphs of this Complaint, as though fully set forth herein.
11         54.    During Plaintiff’s employment, DEFENDANT EMPLOYERS failed to
12   prevent the above-referenced acts of discrimination, retaliation, and harassment towards
13   Plaintiff, in violation of Government Code section 12940(k). DEFENDANT
14   EMPLOYERS failure to undertake a prompt and adequate investigation and its
15   complete failure to prevent the above-alleged acts of discrimination, retaliation, and
16   harassment constitutes an unlawful employment practice. Such conduct is in violation
17   of FEHA and has resulted in damage and injury to Plaintiff as alleged herein.
18         55.    As a proximate result of DEFENDANT EMPLOYERS’ violation of
19   Government Code section 12940(k), Plaintiff has suffered and continues to suffer
20   injuries, aggravation, medical expenses, substantial losses in earnings and job benefits,
21   humiliation, embarrassment, mental and emotional distress, and discomfort, all to
22   Plaintiff’s damage in an amount over the minimum jurisdiction of this Court, the precise
23   amount of which will be proven at trial. Plaintiff claims such amount as damages
24   together with pre-judgment interest pursuant to Civil Code section 3287 and/or any
25   other provision of law providing for pre-judgment interest.
26   ///
27   ///
28   ///
                                              14
                  PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
Case 2:22-cv-08468-DSF-SK       Document 1-2 Filed 11/18/22       Page 15 of 22 Page ID
                                         #:42



1            56.   In doing the acts herein alleged, DEFENDANT EMPLOYERS, through
2    their officers, directors, and/or managing agents, acted with oppression, fraud, malice,
3    and in the conscious disregard of the rights of Plaintiff; therefore, Plaintiff is also
4    entitled to punitive damages in an amount according to proof at the time of trial.
5            57.   Plaintiff, who has incurred and continues to incur attorneys’ fees and legal
6    expenses, is entitled to recover said costs and fees in an amount according to proof at
7    the time of trial, pursuant to Government Code section 12965(b).
8
9                                 FIFTH CAUSE OF ACTION
10         (Wrongful Termination in Violation of Public Policy Against DEFENDANT
11                           EMPLOYERS and Does 1 through 10)
12           58.   Plaintiff re-alleges and incorporates all previous and subsequent paragraphs
13   of this Complaint, as though fully set forth herein.
14           59.   The above-described conduct of DEFENDANT EMPLOYERS constitutes
15   discrimination, harassment, and wrongful termination of Plaintiff in violation of public
16   policy embodied in FEHA, codified at California Government Code sections 12900–
17   12996, California Labor Code sections 1102.5, 1171.5, as well as the California
18   Constitution.
19           60.   As a proximate result of DEFENDANT EMPLOYERS’ actions, Plaintiff
20   has suffered and continues to suffer injuries, substantial losses in earnings and job
21   benefits, humiliation, embarrassment, mental and emotional distress, and discomfort, all
22   to Plaintiff’s damage in an amount over this Court’s jurisdictional minimum, to be proven
23   at trial.
24           61.   As a further proximate result of DEFENDANT EMPLOYERS’ conduct
25   described in this Complaint, Plaintiff has incurred and will continue to incur medical
26   expenses in an amount according to proof at the time of trial.
27   ///
28   ///
                                               15
                   PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
Case 2:22-cv-08468-DSF-SK        Document 1-2 Filed 11/18/22         Page 16 of 22 Page ID
                                          #:43



1          62.    In doing the acts herein alleged, including but not limited to wrongful
2    termination of Plaintiff’s employment, DEFENDANT EMPLOYERS, through their
3    officers, directors, and/or managing agents, acted with oppression, fraud, and/or malice,
4    and in the conscious disregard of the rights of Plaintiff; therefore, Plaintiff is also entitled
5    to punitive damages in an amount according to proof at the time of trial.
6          63.    Plaintiff seeks attorneys’ fees for lost wages under this cause of action under
7    Labor Code section 218.5. As a further result of the wrongful conduct of DEFENDANT
8    EMPLOYERS, Plaintiff is also entitled to attorneys’ fees and costs pursuant to California
9    Code of Civil Procedure section 1021.5.
10

11                                 SIXTH CAUSE OF ACTION
12                         (Retaliation in Violation of Labor Code § 1102.5,
13                 Against DEFENDANT EMPLOYERS, and Does 1 through 10)
14         64.    Plaintiff re-alleges and incorporates all previous and subsequent
15   paragraphs of this Complaint, as though fully set forth herein.
16         65.    Under California Labor Code section 1102.5, it is unlawful for an
17   employer to retaliate against an employee for disclosing, or threatening to disclose,
18   information to a person with authority over the employee or to a governmental agency
19   if the employee has reasonable cause to believe that the information discloses a violation
20   of state or federal statute, or a violation of or noncompliance with a local, state, or
21   federal rule or regulation, regardless of whether disclosing the information is part of the
22   employee’s job duties.
23         66.    Under California Labor Code section 1171.5(a) all protections, rights, and
24   remedies under state law – except any reinstatement remedy prohibited by federal law-
25   are available to all individuals regardless of immigration status who have applied for
26   employment, or who are or who have been employed in this state. Under section (b) for
27   purposes of enforcing state labor and employment laws, a person’s immigration status
28   is irrelevant to the issue of liability and in proceedings or discovery undertaken to
                                              16
                  PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
Case 2:22-cv-08468-DSF-SK       Document 1-2 Filed 11/18/22       Page 17 of 22 Page ID
                                         #:44



1    enforce those state laws no inquiry shall be permitted into a person’s immigration status
2    except where the person seeking to make this inquiry has shown by clear and convincing
3    evidence that the inquiry is necessary in order to comply with federal immigration law.
4          67.    Here, Plaintiff complained on numerous occasions about the misconduct
5    he was being subjected to on the basis of his national origin and/or immigration status.
6    Plaintiff also complained about potentially illegal practices that were taking place at
7    work with respect to DEFENDANT EMPLOYERS’ immigration practices, including
8    but not limited failing to pay Plaintiff for time worked, repeatedly harassing Plaintiff
9    for immigration documents that were in DEFENDANT EMPLOYERS’ possession; and
10   illegal terminating Plaintiff from jobs on the basis of his immigration status.
11         68.    By retaliating against Plaintiff for his reporting this conduct,
12   DEFENDANT EMPLOYERS have caused Plaintiff to suffer damages, including, but
13   not limited to, injuries, aggravation, medical expenses, substantial losses in earnings
14   and job benefits, humiliation, embarrassment, mental and emotional distress, and
15   discomfort, all to Plaintiff’s damage in an amount over this Court’s jurisdictional
16   minimum, to be proven at trial.
17         69.    Pursuant to California Labor Code section 1102.5(f), in addition to other
18   available penalties, an employer that is a corporation is liable for a penalty not
19   exceeding ten thousand dollars for each violation of these sections.
20         70.    In doing the acts herein alleged, DEFENDANT EMPLOYERS, through
21   their officers, directors, and/or managing agents, acted with oppression, fraud, malice,
22   and in the conscious disregard of the rights of Plaintiff; therefore, Plaintiff is also
23   entitled to punitive damages in an amount according to proof at the time of trial.
24

25                              SEVENTH CAUSE OF ACTION
26      (Defamation Against DEFENDANT EMPLOYERS, and Does 1 through 10)
27         71.    Plaintiff re-alleges and incorporates all previous and subsequent paragraphs
28   of this Complaint, as though fully set forth herein.
                                              17
                  PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
Case 2:22-cv-08468-DSF-SK       Document 1-2 Filed 11/18/22        Page 18 of 22 Page ID
                                         #:45



1          72.    Plaintiff is informed and believes that DEFENDANT EMPLOYERS, by the
2    herein described acts, conspired to, and in fact did, negligently, recklessly, maliciously,
3    and intentionally cause internal and external publications of defamation, of and
4    concerning Plaintiff to third persons and to the community.
5          73.    Plaintiff is informed and believes and based thereon alleges that at minimum
6    DEFENDANT EMPLOYERS made defamatory statements about him, with malice, to
7    others throughout the organization including but not limited to each other, others in
8    management, others in Human Resources, and others in the legal department. These
9    included, but were not necessarily limited to, statements and/or insinuations that Plaintiff
10   was not legally permitted to work for DEFENDANT EMPLOYERS.
11         74.    DEFENDANT EMPLOYERS did this for the purpose of establishing a basis
12   to terminate Plaintiff based on illegal reasons; i.e. for pretexual reasons and out of malice.
13         75.    Plaintiff is also informed and believes that DEFENDANT EMPLOYERS
14   have published to third parties defamatory statements about Plaintiff.
15         76.    While the precise dates of each publication are not known, Plaintiff is
16   informed and believes that they occurred between February 2021 and the present day.
17         77.    All of the statements at issue were false, malicious, discriminatory,
18   retaliatory and/or pretextual.
19         78.    DEFENDANT EMPLOYERS published such statements maliciously, with
20   no reasonable belief that the statements were true, with reasons to doubt the veracity of
21   the statements, or knowing they were false.
22         79.    All of the defamatory statements were published excessively; i.e., to more
23   third parties than needed to know, which further evidences malice. (Rancho La Costa,
24   Inc. v. Sup. Ct. (1980) 106 Cal.App.3d 646, 665-6.)
25         80.    The defamatory publications consisted of oral and written, knowingly false
26   and unprivileged communications tending to injure Plaintiff and Plaintiff’s personal,
27   business, and professional reputation, including Plaintiff’s own compelled self-
28   publication of the defamatory statements to members of the community as well as to
                                              18
                  PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
Case 2:22-cv-08468-DSF-SK       Document 1-2 Filed 11/18/22        Page 19 of 22 Page ID
                                         #:46



1    prospective employers. These publications included the above false and defamatory
2    statements (in violation of Civil Code §§ 45, 45a and 46(1)(3)(5)).
3          81.    Plaintiff is informed, believes and fears that these false and defamatory per
4    se statements will continue to be published by DEFENDANT EMPLOYERS and will be
5    foreseeably republished by their recipients, all to the ongoing harm and injury to
6    Plaintiff’s business, professional, and personal reputations. Plaintiff also seeks redress in
7    this action for all foreseeable republications, including Plaintiff’s own compelled self-
8    publication of these defamatory statements.
9          82.    The above defamatory statements were understood as assertions of fact, and
10   not as opinion. Further, the defamatory meaning of all of the above-described false and
11   defamatory statements and their reference to Plaintiff, were understood by these above-
12   referenced third person recipients and other members of the community who are known
13   to all Defendants but unknown to Plaintiff at this time.
14         83.    Each of these false defamatory per se publications (as set forth above) were
15   negligently, recklessly, and intentionally published in a manner equaling malice and
16   abuse of any alleged conditional privilege (which Plaintiff denies existed), since the
17   publications, and each of them, were made with hatred, ill will, and an intent to vex,
18   harass, annoy, and injure Plaintiff in order to justify the illegal and cruel actions of
19   DEFENDANT EMPLOYERS, and each of them, to cause further damage to Plaintiff’s
20   professional and personal reputation, and to cause his employment to be terminated.
21         84.    As a proximate result of the publication and republication of these
22   defamatory statements by DEFENDANT EMPLOYERS, Plaintiff has suffered injury to
23   Plaintiff’s personal, business and professional reputation including suffering
24   embarrassment, humiliation, severe emotional distress, shunning, anguish, fear, loss of
25   employment, and employability, and significant economic loss in the form of lost wages
26   and future earnings, all to Plaintiff’s economic, emotional, and general damage in an
27   amount according to proof.
28   ///
                                              19
                  PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
Case 2:22-cv-08468-DSF-SK       Document 1-2 Filed 11/18/22        Page 20 of 22 Page ID
                                         #:47



1          85.    DEFENDANT EMPLOYERS committed the acts alleged herein recklessly,
2    maliciously, fraudulently, and oppressively, with the wrongful intention of injuring
3    Plaintiff, for an improper and evil motive amounting to malice (as described above), and
4    which abused and/or prevented the existence of any conditional privilege, which in fact
5    did not exist, and with a reckless and conscious disregard of Plaintiff’s rights. All actions
6    of DEFENDANT EMPLOYERS, their agents and employees, herein alleged were
7    known, ratified and approved by DEFENDANT EMPLOYERS, and each of them.
8    Plaintiff is thus entitled to recover punitive and exemplary damages from Defendants for
9    these wanton, obnoxious, and despicable acts in an amount based on the wealth and
10   ability to pay according to proof at the time of trial. DEFENDANT EMPLOYERS’
11   defamatory publications were a substantial factor in causing Plaintiff’s harm. Plaintiff
12   has been damaged in an amount in excess of the jurisdictional limits of this Court.
13

14                               EIGHTH CAUSE OF ACTION
15           (Intentional Infliction of Emotional Distress Against DEFENDANT
16                           EMPLOYERS, and Does 1 through 10)
17         86.    Plaintiff re-alleges and incorporates all previous and subsequent paragraphs
18   of this Complaint, as though fully set forth herein.
19         87.    The conduct of DEFENDANT EMPLOYERS, as set forth above, was so
20   extreme and outrageous that it exceeded the boundaries of a decent society and lies
21   outside the compensation bargain. Said conduct was intended to cause Plaintiff severe
22   emotional distress or was done in conscious disregard of the probability of causing severe
23   emotional distress. Said conduct was also in direct violation of California law public
24   policy, specifically those found in FEHA, the California Labor Code, the California
25   Constitution and the California Civil Code.
26         88.    As a proximate result of the wrongful conduct of DEFENDANT
27   EMPLOYERS, Plaintiff has sustained substantial losses in earnings and other
28   employment benefits in an amount according to proof at the time of trial.
                                              20
                  PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
Case 2:22-cv-08468-DSF-SK        Document 1-2 Filed 11/18/22        Page 21 of 22 Page ID
                                          #:48



1          89.    As a further proximate result of the wrongful conduct of DEFENDANT
2    EMPLOYERS, Plaintiff has suffered and continues to suffer humiliation, embarrassment,
3    severe emotional distress, and mental anguish, all to Plaintiff’s damage in an amount
4    according to proof at the time of trial.
5          90.    In doing the acts herein alleged, DEFENDANT EMPLOYERS, through
6    their managing agents, acted with oppression, fraud, malice, and in the conscious
7    disregard of the rights of Plaintiff; therefore, Plaintiff is also entitled to punitive damages
8    in an amount according to proof at the time of trial.
9

10                                    PRAYER FOR RELIEF
11        WHEREFORE, Plaintiff JIM NICHOLAS JAMES prays for judgment against
12   Defendants TWENTIETH-CENTURY FOX FILM CORPORATION; WALT
13   DISNEY COMPANY, LLC; ABC SIGNATURE STUDIOS, INC; and DOES 1
14   through 10, as follows:
15         1. For past and present compensatory damages, according to proof;
16         2. For pre and post-judgment interest at the legal rate;
17         3. For exemplary and punitive damages according to proof;
18         4. Injunctive, equitable and declaratory relief;
19         5. Attorneys’ fees and costs of suit; and
20         6. For such other and further relief as the Court deems proper.
21   Dated: September 26, 2022         JAVANMARDI LAW, PC | HOLMQUIST LAW, PC
22

23

24
                                                Peter A. Javanmardi
25                                              Marc A. Holmquist
26
                                                Miranda A. Mossavar
                                                Attorneys for Plaintiff
27                                              JIM NICHOLAS JAMES
28
                                              21
                  PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
Case 2:22-cv-08468-DSF-SK     Document 1-2 Filed 11/18/22   Page 22 of 22 Page ID
                                       #:49



1
                               DEMAND FOR JURY TRIAL

2         Plaintiff hereby demands a trial by jury.
3

4    Dated: September 26, 2022      JAVANMARDI LAW, PC | HOLMQUIST LAW, PC
5

6

7
                                          Peter A. Javanmardi
8                                         Marc A. Holmquist
                                          Miranda A. Mossavar
9
                                          Attorneys for Plaintiff
10                                        JIM NICHOLAS JAMES
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                            22
                PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
